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                                                                                   ic.



                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS                 2B19   NOV 27 AM   fl:   7
                                    AUSTIN DIVISION


LUCAS CRANOR, INDIVIDUALLY                     §
AND ON BEHALF OF ALL OTHERS                    §
SIMILARLY SITUATED,                            §
              PLAINTIFF,                       §
                                               §
                                                     CAUSE NO. 1-19-CV-908-LY
V.                                             §
                                               §
5   STAR NUTRITION, LLC,                       §
                 DEFENDANT.                    §




                                     FINAL JUDGMENT

       Before the court is the above-styled and numbered cause.        On this date, the court

rendered an order dismissing this cause. As nothing remains to resolve, the court renders the

following Final Judgment pursuant to Federal Rule of Civil Procedure 58.

       IT IS   ORDERED that the Defendant 5 Star Nutrition is awarded its costs.
       IT IS   FURTHER ORDERED that the case is hereby CLOSED.
       SIGNED this                day of November, 2019.




                                                   TED STATE DISTRICT JUDGE
